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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −80)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 1,285 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



   Feb 21, 2019                                       FOR THE PANEL:



                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                   SCHEDULE CTO−80 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


ALABAMA MIDDLE

 ALM          2      19−00100      Autauga County, Alabama v. Purdue Pharma L.P. et al

FLORIDA SOUTHERN

                                   The City of Pompano Beach, Florida v. Purdue Pharma
  FLS         0      19−60305      L.P. et al
                                   The City of Miramar, Florida v. Purdue Pharma L.P. et
  FLS         0      19−60313      al
                                   City of Coconut Creek, Florida v. Purdue Pharma L.P. et
  FLS         0      19−60364      al

ILLINOIS NORTHERN

                                   International Union of Operating Engineers, Local 150
  ILN         1      19−00811      et al v. Purdue Pharma L.P. et al Opposed 2/20/19

KENTUCKY EASTERN

  KYE         0      19−00014      City of Grayson v. Purdue Pharma L.P., et al
  KYE         2      19−00007      City of Florence v. Purdue Pharma L.P. et al
                                   Appalachian Regional Healthcare, Inc. v. Purdue
  KYE         6      19−00038      Pharma L.P. et al

LOUISIANA EASTERN

  LAE         2      19−01048      Golden et al v. Purdue Pharma L.P. et al
                                   Kenner City v. Amerisourcebergen Drug Corporation et
  LAE         2      19−01174      al

LOUISIANA WESTERN

 LAW          5      19−00153      Parish of DeSoto v. Purdue Pharma L P et al

MARYLAND

  MD          8      19−00336
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                                   County Commissioners of Charles County, Maryland v.
                                   Purdue Pharma L.P. et al

MICHIGAN WESTERN

 MIW          1      19−00094      Dawsey v. Purdue Pharma L.P. et al

MONTANA

  MT          4      19−00008      City of Great Falls et al v. Purdue Pharma L.P. et al

OHIO SOUTHERN

  OHS         2      19−00448      Enders v. Purdue Pharma L.P. et al

OKLAHOMA WESTERN

 OKW          5      19−00096      Cheyenne & Arapaho Tribes v. McKesson Corporation
                                   et al

PENNSYLVANIA MIDDLE

                                   City of Nanticoke, Pennsylvania v. Purdue Pharma L.P.
 PAM          3      19−00190      et al

WEST VIRGINIA SOUTHERN

                                   Greenbrier County Commission v. AmerisourceBergen
 WVS          5      19−00084      Drug Corporation et al

WYOMING

  WY          1      19−00024      Casper WY v. Purdue Pharma LP et al
